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&nbsp;

&nbsp;

&nbsp;

&nbsp;

In The

Court of
Appeals

For The

First District
of Texas

————————————

NO. 01-09-00543-CV

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GREATER HOUSTON TRANSPORATION COMPANY 

D/B/A YELLOW CAB,
Appellant

V.

AMANDA PARKS, Appellee



&nbsp;



&nbsp;

On
Appeal from the 234th District Court 

Harris County,
Texas



Trial Court Cause No. 2007–77238

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MEMORANDUM &nbsp;OPINION

Appellant has filed an unopposed motion to dismiss
the appeal.&nbsp; No opinion has issued.&nbsp; Accordingly, we grant the motion and dismiss
the appeal.&nbsp; See Tex. R. App. P. 42.1(a)(1).

We dismiss all other pending motions as moot.&nbsp; We direct the Clerk to issue the mandate
within 10 days of the date of this opinion.&nbsp;
See Tex. R. App. P. 18.1.

PER CURIAM

Panel
consists of Justices Jennings, Higley, and Brown.





